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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                       Case No. 3:94cr3012/LAC

RAY W ILLIAMS,
a/k/a Ray Anthony Williams,

      Defendant.
_______________________________/


                                         ORDER

       Before the Court is Defendant’s response to the previous Order of the Court directing

him to apprise the Court of when he delivered his notice of appeal to prison authorities for

mailing, or alternatively if the notice of appeal was not timely filed, whether there exists

excusable neglect or good cause to justify an extension of time.

       Defendant responds that his motion to dismiss the indictment raised issues of subject

matter jurisdiction and therefore may be raised at any time. It is therefore apparent that

Defendant labors under the misconception that his appeal from the Court’s denial of his

motion could be raised at any time.

       A mistake regarding the time for appeal in a criminal action does not constitute

excusable neglect. See United States v. Torres, 372 F.3d 1159, 1163 (10th Cir. 2004); United

States v. Hooper, 43 F.3d 26 (2d Cir. 1993); United States v. Prairie Pharmacy, Inc., 921

F.2d 211 (9th Cir. 1990).
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      Defendant’s appeal, which was taken from the Court’s Order of August 15, 2008, did

not arrive until September 10, 2008, the day upon which it was docketed. Based on the

above, the Court finds that the Notice of Appeal was untimely filed and that no excusable

neglect has been shown to justify an extension of time.

      As directed by the Eleventh Circuit, the Clerk is directed to return the file to the

Eleventh Circuit for further proceedings.

      ORDERED on this 24th day of November, 2008.




                                                         s/L.A. Collier
                                                         Lacey A. Collier
                                                 Senior United States District Judge
